This is an application for leave to appeal from refusal of a writ of habeas corpus.
This man claims that he was charged with assault before a magistrate in Hyattsville, Maryland, and was sentenced to eighteen months on each charge. He says that the only witnesses were two girls and that all they accused him of doing was kissing them. He also says that *Page 741 
he was committed as Lawrence L. Blundon, while his true name is Lawrence F. Blundon. The questions of guilt or innocence and the sufficiency of the evidence cannot be retried on habeas corpus.Rountree v. Warden, 189 Md. 292, 55 A.2d 847. As to the mistake in name, he does not allege that he is not the man who was tried, convicted, and committed for the offense charged.
Application denied, without costs.